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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIAN McCAFFERTY and MELISSA           )
McCAFFERTY, individually and on behalf )
of their minor child, C.M.             )
                                       )
               Plaintiffs,             )
                                       ) No.: 2:18-cv-01276-JS
       vs.                             )
                                       )
NEWSWEEK MEDIA GROUP, LTD, t/a )
NEWSWEEK, LLC and/or NEWSWEEK, ) JURY TRIAL DEMANDED
INC. and/or NEWSWEEK                   )
                                       )
               Defendant.              )

                                       ORDER

      AND NOW, this _______ day of _______________, 2018, upon consideration of

Defendant’s Motion to Dismiss Plaintiffs’ Amended Complaint, and Plaintiffs’ Response in

Opposition thereto, it is hereby ORDERED and DECREED that Defendant’s Motion is

DENIED.



                                               BY THE COURT:



                                               ____________________________________
                                               Juan R. Sanchez, J.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIAN McCAFFERTY and MELISSA           )
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of their minor child, C.M.             )
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                                       ) No.: 2:18-cv-01276-JS
       vs.                             )
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NEWSWEEK MEDIA GROUP, LTD, t/a )
NEWSWEEK, LLC and/or NEWSWEEK, ) JURY TRIAL DEMANDED
INC. and/or NEWSWEEK                   )
                                       )
               Defendant.              )

      PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS THE
                         AMENDED COMPLAINT

       Plaintiffs hereby respond to the Motion to Dismiss filed by Defendant Newsweek, LLC

and for all of the reasons set forth in the accompanying Memorandum of Law, respectfully

request this Honorable Court to deny said Motion.         Specifically, and as delineated in the

Memorandum of Law, the Defendant’s Motion to Dismiss fails for at least the following reasons:

       1. The Defendant’s Motion is predicated upon impermissible and highly disputed

          “facts” clearly beyond the scope of the Amended Complaint, which have not been the

          subject of any discovery or that are completely irrelevant to the dispute;

       2. It is impossible (if not absurd) on this factual record, no less after any discovery, for

          this Honorable Court to conclude that the 12-year-old Plaintiff was or is a limited

          purpose public figure who influenced the Presidential election in any impactful way;

       3. The Motion does not ever define the “public controversy” at issue, and instead,

          muddles its way through a series of non-specific allegations which somehow point to
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           the conclusion that a 12-year-old is somehow impactful in this deliberately vague,

           obtuse and undefined public controversy;

       4. Actual malice has been properly alleged in the Amended Complaint and will

           obviously be the subject of discovery; therefore, any discussion of actual malice is

           entirely premature without discovery;

       5. In Pennsylvania, it is clearly defamatory to impute “sexual abuse” to anyone, and the

           Defendant’s argument is flatly wrong;

       6. In Pennsylvania, Plaintiffs aver that it is defamatory to impute “raw racism” to

           anyone for the reasons clearly set forth more fully below; and

       7. The Plaintiffs/parents’ claims are legitimate as a result of the inferences set forth and

           intended by Newsweek that C.M.’s parents allowed their child to be “weaponized”

           for the purpose of promoting “raw racism” and “sexual abuse.”

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court deny the Motion

to Dismiss, together with any further relief which this Court deems just and appropriate under the

circumstances.


                                                     Respectfully submitted,

                                                     THE BEASLEY FIRM, LLC

                                             BY:      /s/ Dion G. Rassias
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DATED: June 4, 2018




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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIAN McCAFFERTY and MELISSA           )
McCAFFERTY, individually and on behalf )
of their minor child, C.M.             )
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                                       ) No.: 2:18-cv-01276-JS
       vs.                             )
                                       )
NEWSWEEK MEDIA GROUP, LTD, t/a )
NEWSWEEK, LLC and/or NEWSWEEK, ) JURY TRIAL DEMANDED
INC. and/or NEWSWEEK                   )
                                       )
               Defendant.              )




   PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
            MOTION TO DISMISS THE AMENDED COMPLAINT




                                        THE BEASLEY FIRM, LLC

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                                          ARGUMENT

I.     Defendant’s Motion Is Predicated Upon Impermissible And Highly Disputed
       “Facts” Clearly Beyond The Scope Of The Amended Complaint

       In deciding a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, this Honorable Court must accept as true all facts alleged in the Complaint. Malia v.

Gen. Elec. Co., 23 F.3d 828, 830 (3d Cir. 1994). Dismissal for failure to state a claim is only

appropriate when it clearly appears that the plaintiff cannot prove any facts in support of the

claim. U.S. Claims, Inc. v. Flomenhaft & Cannata, LLC, 519 F.Supp. 2d 515, 520 (E.D.Pa.

2006) (citations omitted).

       Here, Defendant introduces new, improper “facts” which are clearly beyond the four

corners of the Amended Complaint, have not been investigated in discovery and are completely

inappropriate at this time. Examples of the Defendant’s improper and highly disputed factual

arguments include the allegations that: (1) the article does not refer to Plaintiff-parents; (2) C.M.

is a public figure and influenced the Presidential Election; (3) “[s]ome of the statements do not

mean what the [Plaintiffs] claim they mean;” (4) the article is not defamatory; (5) the article

contains only opinions; (6) the statements are not false; and (7) the article refers not to C.M.,

despite his picture on the top, but other kids and adults (which Defendant also frivolously alleges

does not include Plaintiff-parents).

       Obviously, these inappropriately raised issues are questions of fact, or at a minimum

mixed facts and law, without any discovery. Plaintiffs’ Amended Complaint is well-pled.

II.    C.M. Is Not A Limited Purpose Public Figure

       For C.M to be a limited purpose public figure, he must be “attempting to have, or

realistically can be expected to have, a major impact on the resolution of a specific public dispute

that has foreseeable and substantial ramifications for persons beyond its immediate participants.

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In undertaking this examination, a court must look through the eyes of a reasonable person at the

facts taken as a whole.” Joseph v. Scranton Times L.P., 959 A.2d 322, 339 (Pa.Super. 2008).1

Defendant must prove that this 12-year old child impactfully interjected himself into
               2
controversy.       With over 120 million votes cast, arguing that a single pre-teen, through one

video, was able to effect the race/controversy is ludicrous. “In determining whether a defamation

Plaintiff is a limited purpose public figure, the Court must consider (1) whether the alleged

defamation involves a public controversy, and (2) the nature and extent of Plaintiff's

involvement in that controversy.” Marcone v. Penthouse Int'l Magazine for Men, 754 F.2d

1072, 1082 (3d Cir. 1985) (emphasis added).

         Defendant’s Motion to Dismiss alleges that by C.M. expressing his views he somehow

impactfully injected himself into the undefined public controversy. [Dkt. #22-1 at 10]. C.M.’s

role in the Presidential Election and its aftermath is literally undetectable. C.M. could not even

vote in the election (in essence the ultimate determination of “impactful”), and only briefly

advocated for Mr. Trump with his video on an unrelated topic, the NFL. See p. 4, infra. C.M.’s

overall effect is beyond minuscule when compared to all the other infinite electoral forces at

work, i.e., nearly $2 billion spent by the two campaigns. Even generously, albeit unbelievably,

assuming the Alex Jones segment, the Laura Ingraham photo-op and 7 million view videos were

“influential” to someone, to call this a “major impact” 3 on a national Presidential Election and its

aftermath is clearly unsustainable and desperate. Defendant chiefly argues the influence of 12-

year old C.M. is evident from his 7 million YouTube views and one appearance on Alex Jones’


1
    While Joseph has a complicated subsequent appellate history, nothing changed this holding.
2
 Curiously, Defendant never defines the “controversy;” yet another reason to deny the Motion to
Dismiss.
3
    Joseph, 959 A.2d at 339.
                                                 2
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show. Yet, of the 7 million views, it is impossible now to determine how long the “views” were,

or how many of those views were predicated upon anything C.M. said or did, as opposed to

tagalong views from Laura Ingram and Alex Jones, which obviously C.M. never interjected

himself into. Defendant plays fast and loose with its regurgitation of the “7 million views”

without the benefit of any discovery. 4 Defendant erroneously tries to draw the inference that

C.M.’s total views created some sort of undefined impact; Defendant does not even admit that

this video allegedly creating limited purpose public figure status was not made until nearly a year

after Mr. Trump was elected, and was based on a different factual topic. Thus, for policy

reasons, determining that any person on social media, who comments on a Presidential Election

(in the context of a video on another topic, no less), should be considered a limited purpose

public figure for defamation cases would set a mind-boggling and chilling precedent, and that is

precisely why Defendant is relegated to relying principally upon very old, pre-Internet case law.

Such strategies designed to escape liability for poor, substandard journalism, do not “materially

advance society's interest in ‘uninhibited, robust, and wide-open’ debate on public issues.” New

York Times Co. v. Sullivan, 376 U.S. 254, 270 (1964).

       Defendant relies on one case decided long before social media was a factor, and even

prior to the inception of the Internet, the 33-year old decision of McDowell v. Paiewonsky, 769

F.2d 942, 947 (3d Cir. 1985), as establishing a rule that any person inviting any commentary or

soliciting attention becomes a limited purpose public figure. Extending this stale reasoning to the



4
  The most viewed video on YouTube at present has 2 billion more views than people who have
access to the internet. Therefore, view count evidence is hollow in supporting Defendant’s
argument and in fact advances Plaintiffs’ assertion. Alex Jones is a conspiracy theorist hosting a
talk radio show on the internet. His reach is often exaggerated even by himself. To suggest that
an appearance on Jones’ show is somehow indicative of fame or celebrity status or even minor
notoriety is preposterous. In fact, the Alex Jones interview of C.M. at present has barely over
23,000 views.
                                                3
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Internet is unprecedented, foolhardy and wildly inconsistent with more recent, reliable cases.

Any person on social media could be classified as inviting commentary; thus, in Defendant’s

warped world any social media post magically transforms the original poster into a limited

purpose public figure for whatever topic they post on. When Defendant’s argument is equated to

the physical world, any child who puts up a lawn sign supporting a Judicial or school board

candidate would be inviting commentary or obtaining attention. 5 Arguing that all one needs to do

to become a limited purpose public figure is to seek attention is such a low threshold it becomes

meaningless. Defendant ignores the more recent Joseph opinion while it poorly manipulates the

ill-fitting, stale and easily distinguishable McDowell decision.

       Further, the “7 million view video” that Defendant cites is actually a video commenting

on the NFL anthem boycott, and the NFL boycott is not the public controversy at issue here. This

unrelated controversy cannot suddenly be transposed upon the present controversy for purposes

of establishing the “major impact” necessary to establish a limited purpose public figure. 6

III.   Plaintiffs’ Amended Complaint Sufficiently Alleges Malice

       Actual malice means writing a piece “with knowledge that it was false or with reckless

disregard of whether it was false or not.” New York Times Co., 376 U.S. at 280. Here,

Newsweek very obviously wrote the article knowing certain key assertions were patently false,

and approached its story with a reckless disregard of whether those claims were false. The



5
 Then, Defendant would have us believe, if the lawn sign is visible from the Turnpike, with 200
million yearly drive-bys in 2012 – obviously greater now – there would be 200 million “views”
of this same lawn sign therefore making that child, under Defendant’s argument, a limited
purpose public figure. See Ex. “A.”
6
 This again is troubling in the Internet age. Where a person makes one piece of online content
and then separately speaks about a completely different topic, they cannot be said to be a limited
purpose public figure for Topic B on any alleged “fame” derived from commentary on Topic A.
Gertz v. Robert Welch, Inc., 418 U.S. 323, 352 (1974).
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Complaint is not ‘merely buzzwords’ as Defendant nonchalantly attempts to characterize, but

cites legal standards relevant to the case. [Dkt. #22-1 at 11]. To show reckless disregard for the

truth or falsity of a statement, "[t]here must be sufficient evidence to permit the conclusion that

the defendant in fact entertained serious doubts as to the truth of his publication." Id. This is a

subjective inquiry that requires "sufficient evidence to permit the conclusion that the defendant

actually had a 'high degree of awareness of…probable falsity.'" Harte-Hanks Communications,

Inc., 491 U.S. 657, 688 (1989) (quoting Garrison v. Louisiana, 379 U.S. 64, 74 (1964)). This is

critical here because prior to discovery, there has not yet been the opportunity for Plaintiffs to

confirm what appears, on its face, should be Defendant’s logical doubt about the story.

       The Court has said that “objective circumstantial evidence can suffice to demonstrate

actual malice” and can even “override defendants' protestations of good faith and honest belief

that the report was true.” Schiavone Constr. Co. v. Time, Inc., 847 F.2d 1069, 1090 (3d Cir.

1988) (citing St. Amant v. Thompson, 390 U.S. 727, 732 (1968)). A court may infer actual

malice from objective facts that provide evidence of "negligence, motive, and intent such that an

accumulation of the evidence and appropriate inferences supports the existence of actual malice."

Id. at 1090 n.35 (citations omitted). Actual malice can be shown "[t]hrough the defendant's own

actions or statements, the dubious nature of his sources, [and] the inherent improbability of the

story [among] other circumstantial evidence[.]" Celle v. Filipino Reporter Enterprises Inc., 209

F.3d 163, 183 (2d Cir. 2000) (quoting Liberty Lobby, Inc. v. Dow Jones & Co., 838 F.2d 1287,

1293 (D.C. Cir. 1988)). Defendant acted negligently and grossly departed from professional

journalistic standards in not reaching the subject or his parents for comment. This supports the

argument that the sources for the article were dubious at best, and Defendant knew with high

likelihood that its story about C.M. was false. Defendant claims no reasonable person would



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believe a 12-year-old was in an army that supported racism or sexual assault, and yet Defendant

published those exact words. [Dkt. #22-1 at 17] It is dubious advocacy to suggest there is no

possible evidence proving doubt in the publisher’s mind about the veracity of the actual written

words.

         There are many instances where the U.S. Supreme Court “and this Court have declined to

dismiss a pleading prior to trial because a factual dispute with regard to a component of actual

malice made it premature to do so.” Tucker v. Phila. Daily News, 848 A.2d 113, 130 (Pa. 2004)

(citing Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 521 (1991) (reversing grant of

summary judgment; “at this stage, the evidence creates a jury question whether [the writer of the

article] published the statements with knowledge or reckless disregard” of the falsity of the

statements). In reality, even the Motion(s) to Dismiss already confirm that Defendant knew that

C.M. was not part of any army and never supported or condoned “sexual assault” or “raw

racism;” yet, Defendant still wrote and therefore imputed those words. This obvious falsity

already exceeds the required threshold.

IV.      In Pennsylvania, It Is Clearly Defamatory To Impute “Raw Racism” And “Sexual
         Abuse” To C.M. And His Parents

                                “The kids are being weaponized…
                 when, in fact, they are defending raw racism and sexual abuse.”

See article attached as Exhibit “A” to Plaintiffs’ Amended Complaint.

         Against the words above, Newsweek frivolously contends that its language does not

impute defending raw racism and sexual abuse. Obviously, it does, and the words say so. “The

kids” clearly include C.M., and Defendant’s denial is even more insane when C.M.’s picture is

above the article. For Newsweek to claim that the reference is to “other kids,” (pp. 4-5, 15-20 of

its Brief) but not C.M., is insulting. Then, the very next clause specifically states that “they” –



                                                6
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i.e., the kids – are defending raw racism and sexual abuse.         The plain language of what

Newsweek wrote defeats all of its contorted factual arguments set forth in its frivolous Motion to

Dismiss. At the risk of oversimplifying the analysis, if the article is not about C.M., why use his

picture instead of the alleged “other kids” the article was about? [Dkt. #22-1 at 4-5, 15-20]

While Newsweek may explain away now what it wrote through a flimsy, illogical backtracking

of its words, all Newsweek really does, at best, is highlight exactly how this case ultimately

poses a jury question.

         The definition of impute is to “credit to a person or a cause; attribute.” 7 Here, the

Defendant has clearly imputed, by its words, sexual abuse and racism to the minor-Plaintiff.

Certainly, by inference, the article further suggests that the Plaintiff-parents have allowed their

child to be weaponized to defend racism and sexual abuse.

         There can be no credible dispute that in Pennsylvania, “sexual abuse” is a crime, see e.g.

18 Pa.C.S. § 3101, et seq.; 18 Pa.C.S. §6312(d); 42 Pa.C.S.A. § 9799.14; 18 U.S.C. § 2241

through 2244. It is defamatory to impute a criminal offense to anyone. Restatement (Second) of

Torts § 570; Clemente v. Espinosa, 749 F.Supp. 672, 677 (E.D.Pa. 1990).

         Pennsylvania law is clear:

                A communication is defamatory if any portion of it tends to so
                harm the reputation of that person as to lower him or her in the
                estimation of the community or to deter third persons from
                association or dealing with him or her.
                                               ***
                A communication that states or implies that a person or entity has
                committed a crime is defamatory.
                                               ***
                In deciding whether the communication was defamatory, you
                should consider the message the communication would send to the
                average people who could have been expected to receive it. This
                means you should consider the innuendoes and implications of

7
    Merriam-Webster.com. 2018. https://www.merriam-webster.com (May 22, 2018).
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               what was said, as well as inferences the recipients would have
               drawn from what may not have been said. You should also
               consider the context in which the allegedly defamatory statement
               was made.
                                              ***
               A communication or any portion of it is defamatory if in context its
               stated or implied meaning is defamatory.

17.100 Defamation, Defamatory Meaning, Pa. Sugg. Std. Civ. Jury Instr., 4th Ed., Vol. I (2016).

       Defendant’s imputation of “raw racism” to the three (3) Plaintiffs fares no better.

Plaintiffs could find no Pennsylvania Supreme Court opinions that hold that calling anyone a

“racist” is not defamatory; only the trial courts and the intermediate appellate courts have

generally touched the topic. In fact, missing from the Defendant’s understandably sanitized

Brief at pp. 17-18 is that the Pennsylvania Supreme Court has specifically stated that “it cannot

be said that every such accusation [of racism] is not capable of defamatory meaning as a matter

of law.” MacElree v. Phila. Newspapers, 674 A.2d 1050, 1055 (Pa. 1996). One of this Court’s

functions is to appropriately predict what the Pennsylvania Supreme Court would do when

confronted with a specific situation, in this case in 2018, and decide whether imputing racism to

someone is defamatory. Nationwide Mut. Ins. Co. v. Buffetta, 230 F.3d 634, 637 (3d Cir. 2000)

(“Because there was no reported decision by the Pennsylvania Supreme Court or any other

Pennsylvania court addressing the precise issue before it, it was the duty of the District Court to

predict how the Pennsylvania Supreme Court would interpret [the issue] presented.”); see also,

Jodek Charitable Trust, R.A. v. Vertical Net Inc., 412 F.Supp. 2d 469, 474 (E.D.Pa. 2006)

(“When the state’s highest court has not addressed the precise question presented, a federal court

must predict how the state’s highest court would resolve the issue.” (citations omitted)).

       Plaintiffs suggest that no court, by today’s standards, would ever find that imputing

racism to anyone is not defamatory. Indeed, this Court agrees. In a recent decision, this Court



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found that the term “racist” has a “deplorable connotation in American culture” and thus, is

disparaging to a person’s character. Jungclaus v. Waverly Heights, Ltd., 2018 U.S. Dist. LEXIS

59635, at *13 (E.D.Pa. Apr. 9, 2018).

          To be clear, Newsweek now absurdly advances the position that imputing racism to

anyone, no less a 12-year-old child, is not defamatory in 2018. Yet, everyone knows that

imputing racism in 2018 is defamatory because, by its legal definition, defamation is harm to the

reputation of a person so as to lower him or her in the estimation of the community or to deter

third persons from associating or dealing with him or her. Restatement (Second) of Torts § 559;

see also, Cosgrove Studio and Camera Shop, Inc. v. Pane, 182 A.2d 751, 753 (Pa. 1962). The

Pennsylvania Supreme Court specifically held that “[a] charge of racism clearly could have such

an effect on the individual so charged. Where such a possibility exists, it is up to the jury as fact

finder to determine its existence.” MacElree, 674 A.2d at 1055. By today’s standards, being

imputed as a racist certainly lowers an individual in the estimation of his or her community and

further, obviously deters third persons from associating with him. 8 Newsweek, and its lawyers,

continue to get it wrong and should be admonished for even advancing such a frivolous

argument. 9




8
  By way of example only, consider Donald Sterling, the former owner of the Los Angeles
Clippers, who was recently banned from the NBA for life, fined $2.5 million and literally forced
to sell his $2 billion basketball team after a recording of him surfaced telling his girlfriend “It
bothers me a lot that you want to broadcast that you’re associating with black people. Do you
have to? The little I ask you is not to promote it...and not to bring them to my games,” because
his fellow owners and league sponsors did not want to associate or deal with him on that racial
basis alone. See Ex. “B” attached hereto. Obviously, there are piles of other such instances
about how having anything to do with racism, in today’s world, is clearly defamatory. Again,
Newsweek and its lawyers still continue to get it wrong.
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    Sadly, Ballard Spahr even asked this Court for more pages in its Brief to raise points like this.
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V.     C.M.’s Parents Are Defamed And Placed In False Light

       The current federal standard for pleadings is to view the facts in a light most favorable to

the non-moving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986). Case law clearly asserts defamation by implication. Here, the parents of C.M. are

defamed and placed in false light by the implication that they have allowed their child to be

“weaponized” for the purpose of promoting “raw racism” and “sexual abuse.” A recent decision

from the PA Supreme Court explains this principle of defamatory implication and innuendo:

               Defamation by implication is an acknowledgement that, in some
               instances, innocent words, i.e., words not defamatory on their face,
               may create a defamatory innuendo due to the context in which the
               statements are issued. Innuendo is the insinuation or implication
               that arises from the literal language used in a statement or set of
               comments.

Menkowitz v. Peerless Publ'ns, Inc., 176 A.3d 968, 982 (Pa.Super. 2017).

       Such words are actionable as defamation where the innuendo is both defamatory and

false because the implications that may be deemed defamatory are derived from the meanings

ascribed to the language used and the manner in which the language is used when looking at the

statement as a whole. Id. at 984 (citing Dunlap v. Phila. Newspapers, Inc., 448 A.2d 6, 15

(Pa.Super. 1982)). Similarly, false light invasion of privacy provides a cause of action not merely

for publications that are provably false, “but also for those that although true, are selectively

publicized in a manner creating a false impression.” Krajewski v. Gusoff, 53 A.3d 793, 806

(Pa.Super. 2012) (citing Larsen v. Phila. Newspapers, Inc., 543 A.2d 1181, 1189 (Pa.Super.

1988)). The legal test to be applied to determine whether a statement is defamatory by

implication is whether the challenged language can "fairly and reasonably be construed" to imply

the defamatory meaning alleged by a Plaintiff. Sarkees v. Warner-West Corp., 37 A.2d 544, 546

(Pa. 1944). The "innuendo must be warranted, justified and supported by the publication."

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Livingston v. Murray, 612 A.2d 443, 449 (Pa.Super. 1992) (quoting Thomas Merton Center v.

Rockwell International Corp., 442 A.2d 213, 217 (Pa. 1981)).

       In situations "where a plausible innocent interpretation of the communication exists, if

there is an alternative defamatory interpretation, it is for the jury to determine if the defamatory

meaning was understood by the recipient." Pelagatti v. Cohen, 536 A.2d 1337, 1345 (Pa.Super.

1987) (emphasis added) (citing Gordon v. Lancaster Osteopathic Hosp. Ass'n, Inc., 489 A.2d

1364, 1368 (Pa.Super. 1985)), appeal denied, 548 A.2d 256 (Pa. 1988). A publisher may be

liable for the implications of what he has said or written, not merely the specific literal

statements made. Dunlap 301 Pa.Super. at 492. The Third Circuit then provided the following

illustrious example of its point, “for example, that a man and a woman married, but not to each

other, spent a night together in a hotel room, will be interpreted as an assertion of the pair

engaged in sexual activities, because the average reader will assume that "they sayeth not a pater

noster there.” Id. The innuendo created by Newsweek is no less repulsive for any parent here.

       At best, Defendant’s argument confirms that this case raises the issue for a jury to decide

whether readers of the article interpreted it in its defamatory sense. This Court has already held

that there was sufficient evidence for a jury to determine that when a publisher employed the

label "lawyer-cum-fixer," it either deliberately cast this description in an ambiguous light in the

hope of insinuating a false import to the reader, or that it knew or recklessly disregarded the

possibility that its words would be interpreted by the average reader as false statements of fact.

Sprague v. ABA, 276 F. Supp. 2d 365, 377 (E.D. Pa. 2003). As Pennsylvania law dictates, it is

now a question for the jury whether readers of the Newsweek article interpreted it in its

defamatory sense.




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       It is the Defendant’s burden to prove that its publication could not possibly, to any

reasonable reader, impute the defamatory innuendo that the parents of C.M. allowed their child

to be “weaponized,” for the purpose of promoting “raw racism and “sexual abuse.” This is

because there is sufficient evidence for a jury to determine that when Defendant published its

article it either deliberately cast this description in an ambiguous light (attributing it to “the

adults”) in the hope of insinuating a false import to the reader, or that Defendants knew or

recklessly disregarded the possibility that its words would be interpreted by the average reader as

false statements of fact about the parents.

       In sum, these are the multitudinous reasons why the Defendant’s arguments are

completely without merit.

                                                     Respectfully submitted,

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            EXHIBIT "B"
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                               CERTIFICATE OF SERVICE

      I, Dion G. Rassias, hereby certify that I caused a true and correct copy of the foregoing to

be served via ECF upon:

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